               Case
     Fill in this      23-02666-JJG-11
                  information to identify your case:Doc   1   Filed 06/22/23            EOD 06/22/23 15:06:01                  Pg 1 of 10
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Indiana      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                          
                                                          ✔
                                                          
                                                              Chapter 11
                                                              Chapter 12
                                                                                                                                      Check if this is an
                                                             Chapter 13                                                                 amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Netfor, Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                               Mailing address, if different from principal place
                                                                                                     of business
                                                                                                     2002  Greenfield Ave
                                                                                                     _______________________________________________
                                           ______________________________________________
                                           Number     Street                                         Number      Street

                                           ______________________________________________            _______________________________________________
                                                                                                     P.O. Box

                                           ______________________________________________
                                                                                                     Noblesville                IN      46060
                                                                                                     _______________________________________________
                                           City                        State    ZIP Code             City                      State      ZIP Code

                                                                                                     Location of principal assets, if different from
                                                                                                     principal place of business
                                           ______________________________________________
                                           County                                                    _______________________________________________
                                                                                                     Number     Street

                                                                                                     _______________________________________________

                                                                                                     _______________________________________________
                                                                                                     City                      State      ZIP Code




5.    Debtor’s website (URL)                https://www.netfor.com/
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 23-02666-JJG-11               Doc 1         Filed 06/22/23             EOD 06/22/23 15:06:01                   Pg 2 of 10

                Netfor, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            811210
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
           Case 23-02666-JJG-11                      Doc 1        Filed 06/22/23            EOD 06/22/23 15:06:01                    Pg 3 of 10

              Netfor, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 23-02666-JJG-11                     Doc 1          Filed 06/22/23                  EOD 06/22/23 15:06:01                Pg 4 of 10

               Netfor, Inc.
Debtor         _______________________________________________________                                Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                      $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                            $500,001-$1 million
                                            ✔
                                                                                 $100,000,001-$500 million                   More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              06/22/2023
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Jeffrey D Medley
                                                _____________________________________________                  Jeffrey D Medley
                                                                                                              _______________________________________________
                                                Signature of authorized representative of debtor              Printed name

                                                       President/CEO
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ KC Cohen
                                                _____________________________________________                 Date      06/22/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM      / DD / YYYY



                                                KC Cohen
                                                _________________________________________________________________________________________________
                                                Printed name
                                                KC Cohen, Lawyer, PC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                1915 Broad Ripple Ave.
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Indianapolis
                                                ____________________________________________________              IN              46220
                                                                                                                  ____________ ______________________________
                                                City                                                              State        ZIP Code

                                                3177151845
                                                ____________________________________                                 kc@esoft-legal.com
                                                                                                                  __________________________________________
                                                Contact phone                                                     Email address



                                                04310-49                                                          IN
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 4
              Case 23-02666-JJG-11                     Doc 1   Filed 06/22/23              EOD 06/22/23 15:06:01                    Pg 5 of 10

      Fill in this information to identify the case:

                    Netfor, Inc.
      Debtor name __________________________________________________________________

                                              Southern District of Indiana
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Web Bank - CAN Capital                                             Credit Card Debt
1    1850 Parkway Place, Suite 1150,
                                                                                                                                                     130,152.00
     Marietta, GA, 30067


     Jerry Kerns                                                        Credit Card Debt
2    3991 N COUNTY ROAD 400 E
                                                                                                                                                     0.00
     DANVILLE, IN, 46122

     Lumen Level 3                                                      Credit Card Debt
3    PO Box 910182
                                                                                                                                                     0.00
     Denver, CO, 80291-0182


     Jeff Medley                                                        Credit Card Debt
4    2002 Greenfield Avenue
                                                                                                                                                     0.00
     Noblesville, IN, 46062


     Dell Finance                                                       Credit Card Debt
5    Payment Processing Center
     PO Box 6549                                                                                                                                     0.00
     Carol Stream, IL, 60197-6549

     Citimark Management                                                Credit Card Debt
6    350 East New York Street, Suite 200
                                                                                                                                                     0.00
     Indianapolis, IN, 46204


     American Express                                                   Credit Card Debt
7    PO BOX 650448
                                                                                                                                                     0.00
     DALLAS, TX, 75265-0448

     Knowbe4                                                            Credit Card Debt
8    P.O. Box 734977
                                                                                                                                                     0.00
     Dallas, TX, 75373-4977




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
               Case 23-02666-JJG-11                  Doc 1      Filed 06/22/23             EOD 06/22/23 15:06:01                     Pg 6 of 10

                    Netfor, Inc.
    Debtor         _______________________________________________________                      Case number (if known)_____________________________________
                   Name




     Name of creditor and complete           Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Zoominfo                                                           Credit Card Debt
9    Dept LA 24789
                                                                                                                                                       0.00
     Pasadena, CA, 91185-4789

     VentureTech Consulting, LLC                                        Credit Card Debt
10 7652 Sawmill Road
     Ste 139                                                                                                                                           0.00
     Dublin, OH, 43016


     Lushin & Associates, Inc                                           Credit Card Debt
11 5655 Castle Creek Parkway N Dr
                                                                                                                                                       0.00
     Indianapolis, IN, 46250

     Furniture Solutions                                                Credit Card Debt
12 1329 East Kemper Road
                                                                                                                                                       0.00
     Cincinnati, OH, 45246


     Five9                                                              Credit Card Debt
13 File 2361
     1801 W Olympic Blvd                                                                                                                               0.00
     Pasadena, CA, 91199-2361

     Element Three                                                      Credit Card Debt
14 571 Monon Blvd.
     Suite 125                                                                                                                                         0.00
     Carmel, IN, 46032

     Crest Capital (USB Equipment Lease)                                Credit Card Debt
15 Attn: AR
     3460 Preston Ridge Road, Suite 285
                                                                                                                                                       0.00
     Alpharetta, GA, 30005

     Bohlsen Group                                                      Credit Card Debt
16 6151 Central Ave
                                                                                                                                                       0.00
     Indianapolis, IN, 46220

     A Soft Touch Moving and Storage                                    Credit Card Debt
17 5136B East 65th Street
     Indianapolis, IN, 46220                                                                                                                           0.00


     15Five (PKA Emplify Inc)                                           Credit Card Debt
18 Dept LA 25012
                                                                                                                                                       0.00
     Pasadena, CA, 91185-5012



19




20




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
              Case 23-02666-JJG-11                               Doc 1      Filed 06/22/23               EOD 06/22/23 15:06:01                      Pg 7 of 10
  Fill in this information to identify the case:
              Netfor, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Indiana

  Case number (If known):       _________________________                                                                                                Check if this is an
                                                                                                                                                             amended filing
  Official Form 206D
  Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                  Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                   Amount of claim           Value of collateral
                                                                                                                                  Do not deduct the value   that supports this
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien            of collateral.            claim
     First Merchants Bank                                         2015 GMC Sierra 2500, Accounts
      __________________________________________
                                                                  Receivable, regular office furniture                              62,941.72
                                                                                                                                  $__________________          1,734,965.00
                                                                                                                                                             $_________________

     Creditor’s mailing address

      Meridian Plaza Banking Center
      ________________________________________________________
      PO BOX 792, MUNCIE, IN 47308-0792
      ________________________________________________________

                                                                  Describe the lien
    Creditor’s email address, if known
                                                                   _________________________________________________
      _________________________________________
                                                                  Is the creditor an insider or related party?
    Date debt was incurred            2019
                                     __________________           
                                                                  ✔   No
    Last 4 digits of account                                         Yes
    number                   3708
                             _________________                    Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 
                                                                  ✔   No
    same property?                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      No
                                                                  As of the petition filing date, the claim is:
     
     ✔
       Yes. Specify each creditor, including this creditor,
                                                                  Check all that apply.
    Indiana Community Business Credit,                               Contingent
    1st; First Merchants Bank, 2nd; First                            Unliquidated
    Merchants Line of Credit, 2nd                                    Disputed
2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     First Merchants Line of Credit
                                                                  2015 GMC Sierra 2500, Accounts                                  $__________________
                                                                                                                                   388,063.96                $_________________
                                                                                                                                                              1,734,965.00
      __________________________________________                  Receivable, regular office furniture
     Creditor’s mailing address
      MERIDIAN PLAZA BANKING CENTER
      ________________________________________________________
      PO BOX 792, MUNCIE, IN 47308-0792
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                  Describe the lien
                             2016
    Date debt was incurred __________________
    Last 4 digits of account                                       _________________________________________________
    number                   3284
                             _________________
                                                                  Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                 
                                                                  ✔   No
    same property?                                                   Yes
     No                                                          Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                     No
              priority?
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
             Yes. The relative priority of creditors is             Unliquidated
                  specified on lines _____
                                       2.1                           Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     643,862.68
                                                                                                                                   $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                           3
                                                                                                                                                               page 1 of ___
               Case    23-02666-JJG-11
                Netfor, Inc.
                                                                 Doc 1       Filed 06/22/23               EOD 06/22/23 15:06:01                      Pg 8 of 10
  Debtor            _______________________________________________________                                     Case number (if known)_____________________________________
                    Name



                                                                                                                                   Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                                 Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Indiana Community Business Credit
                                                                  2015 GMC Sierra 2500, Accounts
      __________________________________________                  Receivable, regular office furniture                              192,857.00
                                                                                                                                   $__________________      1,734,965.00
                                                                                                                                                           $_________________
     Creditor’s mailing address

      4181 E 96th St #200
      ________________________________________________________

      Indianapolis, IN 46240
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     2019                         Describe the lien
     Last 4 digits of account                                      Agreement you made
                                                                   __________________________________________________
     number                   _________________
                              -277
                                                                   Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                 
                                                                   ✔   No
     same property?                                                   Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                   Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
           
           ■
               Yes. The relative priority of creditors is             Unliquidated
                                        2.1
                   specified on lines _____                           Disputed


2.__ Creditor’s name                                              Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                   $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                  Describe the lien
     Last 4 digits of account
     number                   _________________                    __________________________________________________


     Do multiple creditors have an interest in the                 Is the creditor an insider or related party?
     same property?                                                   No
      No                                                             Yes

      Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                              No
              No. Specify each creditor, including this
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                    2 of ___
                                                                                                                                                                          3
            Case 23-02666-JJG-11                    Doc 1        Filed 06/22/23             EOD 06/22/23 15:06:01                     Pg 9 of 10
Debtor
               Netfor, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
         Case 23-02666-JJG-11                    Doc 1        Filed 06/22/23                EOD 06/22/23 15:06:01              Pg 10 of 10

 Fill in this information to identify the case and this filing:

              Netfor, Inc.
 Debtor Name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/22/2023
        Executed on ______________                          /s/ Jeffrey D Medley
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Jeffrey D Medley
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President/CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
